14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 1 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 2 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 3 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 4 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 5 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 6 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 7 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 8 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 9 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 10 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 11 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 12 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 13 of 14
14-12416 - #744-1 File 03/15/23 Enter 03/15/23 15:51:38 Exhibit 1 Pg 14 of 14
